                Case 3:23-cv-01145-TLT Document 161 Filed 06/20/24 Page 1 of 8




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                                                         page.]
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17                                   UNITED STATES DISTRICT COURT

18                                  NORTHERN DISTRICT OF CALIFORNIA

19                                       SAN FRANCISCO DIVISION

20   VIRGINIA M. LAMBRIX, et al.,                          Case No. 3:23-cv-1145-TLT (Lead Case)
     individually and on behalf of all others              Case No. 3:23-cv-1496-TLT
21   similarly situated,                                   Case No. 3:23-cv-1543-TLT
                                                           Case No. 3:23-cv-2035-TLT
22                    Plaintiffs,                          Case No. 3:23-cv-2352-TLT

23         v.                                              JOINT CASE MANAGEMENT
                                                           STATEMENT AND [PROPOSED]
24   TESLA, INC.,                                          ORDER

25                    Defendant.                           Judge:      Honorable Trina L. Thompson

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28                       JOINT CASE MANAGEMENT STATEMENT AND [PROPOSED] ORDER
                            Case Nos. 3:23-CV-1145-TLT; 3:23-cv-1157-TLT; 3:23-cv-1496-TLT;
                                 3:23-cv-1543-TLT; 3:23-cv-2035-TLT; 3:23-cv-2352-TLT
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 1          Plaintiffs Virginia M. Lambrix, Anthony Adjuder, Sean Bose, Patrick Doyle, Philomena Nana-

 2   Anyangwe, and Jason Pratti (collectively, “Plaintiffs”) and Defendant Tesla, Inc., (“Tesla”, together with

 3   Plaintiffs, the “Parties”) jointly submit this JOINT CASE MANAGEMENT STATEMENT in advance

 4   of the Further Case Management Conference scheduled for June 27, 2024. See Dkt. 145.

 5          Following the Court’s June 17 order granting in part and denying in part Tesla’s motion to

 6   dismiss, there are currently no pending motions.

 7          The Parties agree that the primary issue to address at the June 27 conference is a revised schedule

 8   for further proceedings to account for the stay of discovery that was in place while Tesla’s motions to
 9   dismiss were pending. See Dkt. 132. On June 19 and 20, the Parties conferred to discuss a proposed

10   schedule for further proceedings. During those discussion, the Parties agreed to use the Court’s prior

11   Scheduling Order (Dkt. 26) as a starting point for proposing a revised schedule. But all Parties also

12   agreed that, given the complex nature of these consolidated antitrust class actions, it was necessary and

13   appropriate to lengthen certain of the deadlines, especially those relating to the timing of opposition briefs

14   and rebuttal expert reports. As a result of the Parties’ discussions, they were able to agree on a proposed

15   schedule and on setting a trial date of December 7, 2026. This proposed overall timeline is in line with

16   similarly complex antitrust cases recently litigated in this district. See, e.g., Klein, et al. v. Meta

17   Platforms, Inc., No. 3:20-cv-08570-JD (N.D. Cal.) (action filed December 3, 2020; trial scheduled for

18   October 6, 2025); Epic Games, Inc. v. Google LLC, No. 3-20-cv-05671 (N.D. Cal.) (action filed August

19   13, 2020; trial commenced November 6, 2023); Sidibe v. Sutter Health, No. 3:12-cv-04854 (N.D. Cal.)

20   (dismissal reversed by Ninth Circuit in September 22, 2016; trial subsequently scheduled for November

21   2, 2020; trial ultimately commenced February 10, 2022). All Parties agree that a comparable timeline is

22   necessary and appropriate in these cases.

23          The Parties’ scheduling proposal is provided below.

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                                                                            Parties’
 1
                                 Event/Deadline                             Proposal
 2      Tesla’s Answer to Complaint                                          7/15/24
 3      Submit jointly proposed discovery plan, protective order, and ESI    7/15/24
 4      protocol
 5      Substantial Completion of Documents Responsive to Each Side’s       11/22/24
 6      First Set of Requests for Production

 7      Class Certification Expert Opening Report (Plaintiffs)               2/14/25

 8      Class Certification Expert Opposing Report (Tesla)                    4/4/25

 9      Class Certification Expert Rebuttal Reports                           5/9/25

10      Motion for Class Certification (35 pages)                            5/23/25

11      Opposition to Motion for Class Certification (35 pages)              6/23/25

12      Reply in Support of Class Certification (25 pages)                   7/14/25

13      Hearing on Class Certification                                       8/12/25
        Fact Discovery Cut-Off                                              10/24/25
14
        Complete ADR                                                         1/30/26
15
        Opening Merits Expert Report (Bilateral)                             1/16/26
16
        Rebuttal Merits Expert Reports                                        3/6/26
17
        Expert Discovery Cut-Off                                             4/17/26
18
        Dispositive & Daubert Motions                                        5/15/26
19
        Oppositions to Dispositive and Daubert Motions                       6/19/26
20
        Replies in Support of Dispositive and Daubert Motions                7/10/26
21
        Hearing on Dispositive and Daubert Motions                           8/11/26
22
        Joint Pretrial Statement w/ Objections                              10/16/26
23
        Final Pre-Trial Conference                                          11/12/26
24
        Trial Date                                                          12/7/26
25                                                                          Every 90
        Regular case-management conferences
                                                                              days
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 1         The parties will be prepared to discuss these and any other issues the Court wishes to discuss at

 2   the June 27 case management conference.

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                                       CASE MANAGEMENT ORDER
 1
            The above JOINT CASE MANAGEMENT STATEMENT & PROPOSED ORDER is approved
 2
     as the Case Management Order for this case and all parties shall comply with its provisions. [In addition,
 3
     the Court makes the further orders stated below:]
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 8   IT IS SO ORDERED.
 9    Dated: _________, 2024
10                                                            Hon. Trina L. Thompson
                                                         UNITED STATES DISTRICT JUDGE
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 1                                         E-FILING ATTESTATION

 2   I, Christopher C. Wheeler, am the ECF User whose ID and password are being used to file this

 3   document. In compliance with Civil Local Rule 5-1(h)(3), I hereby attest that each of the signatories

 4   identified above has concurred in this filing.

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                                                      /s/ Christopher C. Wheeler
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